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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     FINANCIAL INFORMATION
     TECHNOLOGIES, LLC,

            Plaintiff,

     v.                                                 CASE NO. 8:17-cv-190-T-23SPF

     ICONTROL SYSTEMS, USA, LLC,

           Defendant.
     __________________________________/

                                             ORDER

            A September 15, 2020 order allows iControl to secure a stay under Rule 62,

     Federal Rules of Civil Procedure, “by depositing with the clerk a $6,270,000 bond or

     equivalent security.” (Doc. 291) In lieu of a bond, iControl moves (Doc. 300) for

     approval of an irrevocable letter of credit (Doc. 300-1) for $6,270,000. iControl

     prefers a letter of credit because “a bond is much more costly,” and iControl “needs

     to deploy its funds to rebuild its business as opposed to having them tied up in a

     bond during the pendency of the appeal.” (Doc. 300 at 5–6) Opposing the letter of

     credit, Fintech argues that iControl “fails to demonstrate that the [letter of credit] is

     an adequate substitute for a full supersedeas bond.” (Doc. 302 at 4–10) Further,

     Fintech argues that the letter of credit “would not protect Fintech to the same extent

     as a bond if iControl filed for bankruptcy.” (Doc. 302 at 10–11)
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            Under Rule 62, “a court has discretion to allow alternative forms of security

     other than a bond, when adequate security is provided and the appealing party can

     show that the judgment creditor’s recovery is not in jeopardy.” 12 Moore's Federal

     Practice, Civil § 62.03 (2020). If facing an “undue financial burden,” a judgment

     debtor can supply alternative security that “would furnish equal protection to the

     judgment creditor.” Poplar Grove Planting & Ref. Co. v. Bache Halsey Stuart, Inc.,

     600 F.2d 1189, 1191 (5th Cir. 1979); Columbia Cas. Co. v. Ker, Inc., 2009 WL

     10673292, at *1 (M.D. Fla. 2009) (Antoon, J.) (describing the discretion to approve

     an alternative security if a defendant faces an extremely large money judgment but

     cannot secure a surety’s bond).

            The formidable size of Fintech’s judgment commends flexibility in allowing

     an alternative security. iControl may offer an unconditional letter of credit, which

     “serve[s] much the same purpose as other security devices.” 1 Williston on

     Contracts § 2:23 (4th ed.). Even in bankruptcy, a letter of credit obligates an issuer

     (in this action, Fifth Third Bank) to tender funds to a beneficiary (Fintech).

     Resolution Tr. Corp. v. United Tr. Fund, Inc., 57 F.3d 1025, 1030 (11th Cir. 1995)

     (holding that a letter of credit creates an independent contract between an issuer and

     a beneficiary); In re Air Conditioning, Inc. of Stuart, 845 F.2d 293, 296 (11th Cir. 1988).

     In short, if Fintech prevails on appeal, a letter of credit entitles Fintech to easily

     satisfy the judgment.




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           Although iControl may offer a letter of credit, Fintech persuasively argues that

     iControl’s proposed letter of credit limits — at the issuer’s discretion — the duration

     of the letter. (Doc. 302 at 11–12) The letter of credit remains “valid until one year

     from issue date” and can expire if the issuer “elect[s] not to extend.” (Doc. 300-1

     at 1) Because an appeal can last longer than a year, iControl’s proposed letter of

     credit fails to adequately secure Fintech. United States v. O'Callaghan, 805 F. Supp. 2d

     1321, 1326 (M.D. Fla. 2011) (Merryday, J.) (describing how a stay pending appeal

     should “protect the judgment creditor’s position from erosion”); Advanced Estimating

     Sys., Inc. v. Riney, 171 F.R.D. 327, 328 (S.D. Fla. 1997) (Ryskamp, J.) (rejecting an

     alternate security of “uncertain value”).

           iControl’s motion (Doc. 300) is DENIED WITHOUT PREJUDICE.

     iControl may obtain a stay under Rule 62 by depositing with the clerk an

     unconditional letter of credit that will remain valid for at least seven days after

     receipt by the district court of the mandate of the circuit court of appeals. To afford

     iControl time to secure a revised letter of credit (or a surety’s bond), execution and

     levy are STAYED through DECEMBER 4, 2020.

           ORDERED in Tampa, Florida, on November 13, 2020.




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